Case 2:23-cv-11634-NGE-APP ECF No. 14-2, PageID.82 Filed 08/01/23 Page 1 of 2




                   EXHIBIT A
           Case 2:23-cv-11634-NGE-APP ECF No. 14-2, PageID.83 Filed 08/01/23 Page 2 of 2




From:                          Adrienne Dresevic
Sent:                          Tuesday, July 25, 2023 3:02 PM
To:                            dgordon@deborahgordonlaw.com
Cc:                            emarzottotaylor@deborahgordonlaw.com; sthomas@deborahgordonlaw.com;
                               msavage@deborahgordonlaw.com; Adrienne Dresevic; Clinton Mikel; Jonathan Messina
Subject:                       Pensler et al /Request for extension


Deborah,

Good a ernoon. We have been retained by Elizabeth A. Pensler, D.O., PLLC (d/b/a “Pensler Vein and Vascular”, “Pensler
Vein and Vascular Surgical Ins tute”, and “Elizabeth Face + Body Med Spa”), Elizabeth Pensler, D.O., Elizabeth Med a,
PLLC, Derek Hill, D.O. and Derek L. Hill, D.O., PLLC (d/b/a “Hill Orthopedics”) in connec on with the recent civil complaint
filed by Julia Zimmerman in the District Court for the Eastern District of Michigan under Case No. 2:23‐cv‐11634‐NGE‐
APP. According to the Docket, a response is due for certain Defendants on August 7, 2023, and others on August 8,
2023.

We are assessing the Complaint and our op ons. We respec ully request a 45‐day extension of me for all defendants
to respond to the Complaint. As such, our adjourned response would be due on September 22, 2023 (i.e., 45 days). We
would of course grant the same courtesy by providing a reasonable amount of me to respond.

Please consider this email as our good faith eﬀort to meet‐and‐confer on the requested extension pursuant to Local Rule
7.1(a) to determine if the extension will be opposed.

 If you concur in the extension request, we will dra a joint mo on for the extension of me for your review and
approval. We would appreciate an expedi ous response to submit a mely extension request.


Best,

Adrienne

                                           Adrienne Dresevic
                                           Founding Shareholder

                                           O. (248) 996-8510
                                           F. (248) 996-8525
                                           A. 32000 Northwestern, # 240, Farmington Hills, MI 48334
                                           E. adresevic@thehlp.com




The Health Law Partners, P.C., is a Michigan professional corporation.
We operate additional offices in New York as “The Dresevic, Iwrey, Kalmowitz & Pendleton Law Group.”
CONFIDENTIAL: This email and its attachment(s) contain information which may be privileged, confidential, or otherwise
protected from use/disclosure. Some information, such as health information, may be further protected by state and federal laws,
which may impose liability for the recipient’s improper use, disclosure, or retention of the information. The information is for the
intended addressee only. If you are not the intended addressee, any disclosure, copy, retention, distribution or use of the
contents of this message is prohibited. If you have received this electronic message in error, please notify HLP immediately by
calling (248) 996‐8510, or emailing us at partners@thehlp.com, and destroy the original communication and all copies thereof.
This email is not meant to constitute an electronic signature or evidence intent to contract electronically.


                                                                                         1
